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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON?” in the Gulf
OF MEXICO, ON APRIL 20, 2010 SECTION: “J”

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)
)
) JUDGE CARL J. BARBIER
)

) MAG. JUDGE SALLY SHUSHAN
)

THIS DOCUMENT RELATES TO:

Civil Action No. 2:10-cv-3066-CJB-SS )

MELINDA BECNEL vs. BP, LPC, etal )

ORDER

Considering the above and foregoing Final Motion of Dismissal:

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all matters in this
controversy filed by MELINDA ANNE BECNEL against any party including but not
limited to BP, PLC, BP PRODUCTS NORTH AMERICA, INC., BP AMERICA, INC.,
HALLIBURTON ENERGY SERVICES, INC., CAMERON INTERNATIONAL
CORPORATION F/K/A COOPER-CAMERON CORPORATION, WEATHERFORD
INTERNATIONAL, INC., AND/OR WEATHERFORD INTERNATIONAL, LTD.,
ANADARKO PETROLEUM CO., LTD., CORP, MOEX OFFSHORE - 2007 LLC, M-I
L.L.C., AND M-I DRILLING FLUIDS, L.L.C.. be and the same are hereby dismissed
and discontinued, with full prejudice, each party to bear their own costs.

SIGNED IN NEW ORLEANS, LOUISIANA, this day of

2011.

HONORABLE CARL J. BARBIER
UNITED STATES DISTRICT COURT JUDGE
